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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT ()F TEXAS
HOUST(}N DIVISION

IN RE:

§
§

PARADIGM TELECoMH,LLC § cAsENo.18-34112
§

DEBToR § CHAPTER 11

I)ISCLOSURE OF COMPENSATI(}N PURSUANT TO
11 U.S.C. 8 329 AND BANKRUPTCY RULE 2016 (Bl

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

Pursuant to ll U.S.C. § 329 and Bankruptcy Rule 2016 (b), the law firm of Fuqua &
Associates, PC, Counsel for the above~captioned Debtor makes, this its statement, setting forth the
compensation paid or agreed to be paid to it for services rendered or to be rendered by Fuqua &
Associates, PC in contemplation of and in connection With the above-entitled and numbered
bankruptcy case, and the service of such compensation

I.
At the present time, the Fii'rn charges the following billing rates:

Richard L. Fuqua, Attorney-in-Charge $500.00 an hour

Mary Ann Bartee, Associate $250.00 an hour

Michael L. Fuqua, Associate $225.00 an hour

T.I. O’Dowd, Legal Assistant $95.00 an hour
II.

On lilly 27, 2018, this Firm received a deposit of Eighteen Thousand Five Hundred and
No/ 100 Dollars ($18,500.00) for services and costs to be incurred by Fuqua & Associates, PC On

behalf of the Debtor herein.

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III.

The Debtor has promised to pay the Firm on an hourly fee basis for all legal services rendered
and to be rendered and all legal expenses incurred and to be incurred in connection With this Chapter
ll Bankruptcy Case. The Firm Will be paid pursuant to the appropriate Orders of this Bani<ruptcy
Court approving compensation awards and expense reimbursements under ll U.S.C. §§ 330 and
3 3 l .

lV.

rfhc Firm has not agreed, either directly or indirectly to share any compensation Which it may

receive on account of representation of the interests of the Debtor with any other person.
' @=LL_/
Respectfully Submitted this § day of July, 2018.
Respectfully submitted,
FUQUA & AssoCIATEs, PC
By: /.s'/ Rz'chard L. Fuaua
Richard L. Fuqua
Texas Bar No. 07552300
5005 Riverway, Suite 250
Houston, Texas 77056
Business (713) 960-0277
Facsimile (713) 960-1064

COUNSEL POR DEBTOR

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